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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    OLD LC, INC., et al.,1                                             Case No. 19-11791 (BLS)

                                      Debtors.                         Jointly Administered


    Official Committee of Unsecured Creditors of Old                   Adv. No. 20-51002 (BLS)
    LC, Inc., et al., for and on behalf of the estates of
    Old LC, Inc., et al.;
                                                                       Hearing Date: Aug. 19, 2021 at 11:00 a.m. (ET)
                                      Plaintiff,                       Ref. Adv. Docket No. 35
    v.

    Upfront V, LP, Breakwater Credit Opportunities
    Fund, L.P.; Upfront GP V, LLC; Mark Suster;
    Dana Kibler; Gregory Bettinelli; Saif Mansour;
    Aamir Amdani; Eric Beckman; Darrick Geant; and
    Joseph Kaczorowski

 NOTICE OF ORAL ARGUMENT ON MOTION OF UPFRONT V, L.P., UPFRONT GP
V, LLC, MARK SUSTER, DANA KIBLER AND GREGORY BETTINELLI TO DISMISS
 FIRST AMENDED COMPLAINT AND OBJECTION TO CLAIMS AND MOTION TO
             STRIKE PRAYER FOR COMPENSATORY DAMAGES

                  PLEASE TAKE NOTICE that a hearing with respect to oral argument on the

Motion of Upfront V, L.P., Upfront GP V, LLC, Mark Suster, Dana Kibler and Gregory Bettinelli

to Dismiss First Amended Complaint and Objection to Claims and Motion to Strike Prayer For

Compensatory Damages [Adv. Docket No. 35] (the “Motion to Dismiss”) will be held before the




1
   The Debtors are the following four entities (the last four digits of their respective taxpayer identification numbers,
if any, follow in parentheses): Old LC, Inc. (7119), Old LC Holdings, Inc., Old LCF, Inc. and Old LC Parent, Inc.
The Debtors’ noticing address in these Chapter 11 cases is 3401 Pasadena Ave, Los Angeles, CA 90031.



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Honorable Brendan L. Shannon, United States Bankruptcy Court Judge, via Zoom

videoconference2 on August 19, 2021, at 11:00 a.m. (Prevailing Eastern Time).



    Dated: July 21, 2021                               PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ Colin R. Robinson
                                                     Dean A. Ziehl (NY Bar No. 4133971)
                                                     James K.T. Hunter (CA Bar No. 73369)
                                                     Colin R. Robinson (DE Bar No. 5524)
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                                                     Counsel to the Upfront Defendants




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    Link to be provided prior to the scheduled hearing date.



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